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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3085

vs.
                                                 TENTATIVE FINDINGS
LISA J. SCHUTTE,

                 Defendant.

      The Court has received the revised presentence investigation report in
this case. The defendant has objected to the presentence report (filing 196)
and moved for a downward departure or variance (filing 197).

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005) and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   The defendant objects to the presentence report on two grounds. First,
     she objects to the calculation of the weight of pseudoephedrine for
     which she should be held responsible, contending that she should not
     be held responsible for purchases she made for personal use. Filing 196
     at 1. If the defendant objects to any of the factual allegations contained
     therein on an issue on which the government has the burden of proof,
     such as the base offense level and any enhancing factors, the
     government must present evidence at the sentencing hearing to prove
     the existence of the disputed facts. United States v. Poor Bear, 359 F.3d
     1038, 1041 (8th Cir. 2004). Accordingly, the Court will resolve this
     objection on the evidence presented at sentencing.

     Second, the defendant objects to the presentence report's finding that
     she should receive a role adjustment as a minor, but not minimal,
     participant. Filing 196 at 1. The burden of establishing a role
     adjustment as a minor or minimal participant rests with the defendant.
     See United States v. Pinkin, 675 F.3d 1088, 1090 (8th Cir. 2012). To
     qualify for a minimal participant adjustment under § 3B1.2(a), the
     defendant must be "plainly among the least culpable of those involved
     in the conduct of a group." Id., cmt. n.4. "[T]he defendant's lack of
     knowledge or understanding of the scope and structure of the
     enterprise and of the activities of others is indicative of a role as
     minimal participant." Id. Minimal participants are those with
     "insignificant" involvement in the criminal activity. United States v.
     Goodman, 509 F.3d 872, 875 (8th Cir. 2007). With those principles in
     mind, the Court will resolve this objection at sentencing.

3.   The defendant also moves for a downward departure or variance. She
     argues that her medical condition warrants a downward departure
     under U.S.S.G. §§ 5H1.3 and 5H1.4. Filing 197 at 1. She argues that
     her responsibility as the sole surviving parent of a child warrants a
     downward departure under U.S.S.G. § 5H1.6. Filing 197 at 1. And she
     contends that all of those circumstances also warrant a downward
     variance pursuant to 18 U.S.C. § 3553(a). Filing 197 at 1. The Court
     will resolve that motion at sentencing.



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4.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

5.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

6.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

7.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 2nd day of October, 2015.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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